Case 9:22-mj-08332-BER Document 52 Entered on FLSD Docket 08/15/2022 Page 1 of 9




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                            W EST PALM BEAG IDIYISION

                         CRIM INAL CA SE No.9;22-M J-& 32-BER

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IN RE:SEALED SEARCH W ARRW                                                                       i
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                                                                      s.          DISX CI
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      M oelqoN OF PAUL M .DORSEY PRO-SE To IN ITERVENE FOR TH E LIM I'
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                P- osEOFUNSEQ INGA:LWARRANTMITERIAL

 1.      Introduction:
         OnAugust% 2022,1heDeparlmentofJustkeexecuted asem'
                                                          chwarzant,issuedbylhis
 Courtwith thesigrmtureofmagistratejudgeBruceE.Reinhartxpresumablellponlherequisite
 jindingofprobablecause,seeFed.R.Crim.P.41(c)(1)-(2),atthepremiseslocatedat1100S.
 Ocean BlvdwPalm BeachvFlorida33480,aproperty ofform erPresidentDonald J.Trump.

         Consistem with slandard m acticein thisComt 1hesearch warrantand attachm ents

 wereeachfiledundersealinCaseNo.22-r+ 8332-8ER priortothesearch;theProperly
 Receiptwasfiled undersealyestcday.ln thetwo daype od startingAugust10,fi'
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         n ism otion isfiled becausethosem otionsdid notindudefactsand/ordrcums-tances

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 federalcourlswhen applying forwan'
                                  antsagainstDonald Trump orM ssuppM c ;thatthe

 me stratejudgewho signedthewarrantagainstDonaldTrumpfiledaNoticeofRecusalon
Case 9:22-mj-08332-BER Document 52 Entered on FLSD Docket 08/15/2022 Page 2 of 9



June22,2022inacasewhereDonaldJ.Trumpwasaplaintiffandthissamejudge,accordingto
newsaccounts,hasmadedisparagingstatememsagainstDonaldTrump (1obeclem'
                                                                    ,these
 slatementsweremadeprjortohisappointmentasamagistmtejudge);andthatpreviousdforts
 bytheUnited Slatesgovernm entagainx Donald j-Trump havebeen slackedwilh an

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 II. Don ey HasSAandingto Intervene.
       TheEleventh Circuithasrecognizedboth 1hepublic'sand1henewsm edia'slightlo

 intervc ein m attezsto challengethedenialofaccessto courtrecords-See,e-p,UniledStutes #.

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 2015-cv-0656(doc182)9andTurnkeysolutionsC'
                                          /cz >.Hewlelt-packardCompany,2015-cv-
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111. LegalStandard.

       Before 1980,fedem lcouxts did notrecognizt a Firs'tAm endm entrightofaccess
       to judicial moceedings and court records.ln Rkhmond seMp.
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                                                                     1 Inc.v,
        Vîrginiu,448 U.S.555, 100 S.Ct.2814.65 L-Ed-2d 973 (1980),the U-S,
       SupremeCourtbrokenew groundbyrecoa izinjthat1heFH Amendmem gavc
       the press and public an affirm ative qualified nght of access lo crim inal court
       m oceedings. See, Eugene Cenuti, ''   D andng in J& Courthouse'': The FH /
       AmendnwntRightofAccess Opens a stpMzRoundp29 U-RICH.L.REV.237
       (1995)-
       LosAngelesTimesA'.County oflm alzzgcfcx&m956 F.Supp-1530,1538-39 (C.D.
       Cal.1996).

       So,now themessandthepublicenjoyaqualifiedzightofaccesslocdminalandjudicial

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 F.3d1234,1245(11thCin 2007: Chicago TribuneCo.>.Bridgestone/Firestone,Inc.,263F.3d

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       nlRtcordsjndude,whhoutlimiotjon:(1)'
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 application;(3)anymotiontosealsearchwv ant-relatedrecords;(4)anyresultantorder
 regardingamotiontoseal;(5)anysearchwnrmntwetums;and(6)a11pTobablecauseaffidavils
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 drcumstances(noneofwhichhasbten mentionedbytheothtrintervenersasofdocumem

 number36);
        First,thatFB1personnelhaveadocumenthistozy oflying tofederalcoulswllen

 applyingforwarrantsagainstDonaldTrumporhissupporters-(seeUSA vKevinClinesmhh,

 1:2020-c-0165Dis'tofColumbiaD-C);
        SecondxthqtBruceE.Rejnhalt lheUnited StatesM agiM teJudgewkosigned th:

 wan'
    antagainslDonaldTnlm p GledaNotice ofRecusalon June22,2022 in a casewhere

 DonaldJ.TnlmpwasaplaintiffagainstHillaryR.Clintozlzeta1-(SeeCaseNo22-CJv-12102,
 DocNo.186,jiledJune22,2022),
        Third,thatnewsacçountsreyhortthattMssameBruceE,Rdnharlllasm adedisparaging

 statemenl againstDonaldTnunp (asstatedearlierathesestatementsweremadepiortohis
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 A i-raid-dip caged-lrump-xhœ'ed-woke-contenl-on-
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        Foxlh,thatpreviouseffortsby theUniled Slatesgovcrnm enlagainstD oraldJ.Trump -

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 htps://-    -politifM .çe fr checks/zol8/m r/zl/donald-ta mp/fact-checM ng-donald-ta mps-

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                            WsitedAug 12,2022 at3:25pm-l)
         Combined,thesefourfactsand circum mrmcesallow areasonablepersonlocondudethat
  1heFB1and 1he dio-triclcourtsare notbdns faf.
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  DonaldJ.Trump. Only fulldisclosw e ofthe em ize search wac'
                                                            am znaterial,aspleviously listedx




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willoffsetlhoseconclusjons.ThisR lldisdosurenecessarily includestkenam esofthe agtnts

(seefactnumberfourabove).
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           twarram material,includingthenam esoftlleagentson theraid-

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       PursuanltoLocalRule7.1(b)(2),theJnlervenorPaulM -DorseyTequestslllatth:Courl
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 governm em orTrump m ay a sertvconsideHng11)tm any factsalready publicly known aboutthe

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 ççdol''emailaddressesan omlinûof1hearguments1wasplarmingtomake-Thiswasal12:45mn
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 respense Shatis dlw by 5;00 pm M ondaymA usus't15,2022. A11helim e oflhis lilins,tl)e

 undersignedpro-seintezvenorhasreceivedno comm unicalionsfrom l'hegoveznm em ,




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Case 9:22-mj-08332-BER Document 52 Entered on FLSD Docket 08/15/2022 Page 6 of 9



       Dated Augus't12,2022,4:05 pm .



                            Re ectfully sublnilled
                                       Oï0
                            PaulM .D orsey
                            119 W estmins'terDrive
                            W eslHartford,CT 06107
                            (860)521-0081
                            p.dorseA comcast.net

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              U.S.Attom ey'sOv ce
              Southern Distrid ofFlozida
              98NE 4th Street,Floor8
              M iamirFL 33132-2131
              juu .c tonio.gony>lx usdoj.gov

               Law OffceofAndreaFlynn M ogensen,P.A.
               Suile 128
               677N .W ashington Blvd.
               Sarasotw FL 34236
               941-955-1066




                                                      #A           e
                                           PaulM -Dorsey
                                           110 W estm ipsterDlive
                                           W eM HartfordmCT 06197
                                           (860)521-0081
                                           p.dorzcg%comcuxt.net




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                                  Exhibit 1
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        PaulDorsey<pydorsey@ oomcastnet>                                                      8/12/2922 12;45AM

        Anothermotiùn to intervene in 22-mj-8332
        Tojuan.anlonîo.gonialez@ usdoj-gov<juan-antonjo-gonzalez@ ssdoj-.
                                                                        go> p
        jay.brato@usdoj-gov<jay-brato@ usdoj.govl

        G reetings: Iwrite pursuantto the localrule to înform you thatlwillbe fjling a m otion to
        intervene in the USA v Sealed Search W arrantcase lo argue fora com plete unsealing ofaI1
        search warrantm aterial,incjuding the application forthe w arrantAND the names oftbe
        agents involved jn the search-

         I'm a private citizen.I'm nota Iawyer- butoverthe years Ihave filed halfa dozen orso
         motionsto intervene (infederaland Connedicutcourts).Somewere successful,some
         w eren't.

         I'm going to argue thatthe legalstandard should be the FirstAm endm ent,and thatthat
         standard jm poses a higherburden than the com m on Iaw standard.

         I'm also going to bring up three facts unique to this case thatwere notm entioned in the
         m oljonsiled by the news organizations.These facts supportcom plete unsealing.
         Speci:cally:

         ThatFBIpersonnelhave previously Iied to federalcourts regarding pastsearch warrant
         applicationsaimed againstDonaldTrump (thewarrantwasagainstCarterPage,a Iow level
         Trumjcampaignworker,ifIrecallcorrectlyl-Iwanttoknow ifthecurrentFBIapplicatjon
         contalns any otherIies. lalso wantto know ifthe FBIviolated its duty ofcandorto the
         tribunal. Icanï do thatw ithoutseeing the application.

         I've heard news reports (Rwasn'tthe New YorkTjmesorNBC News)thatthem agistrate
         judgewhosignedthewarrantexcusedhimselffrom acaseinvolvjngDonaldTrumpand
         Hillafy Clinton due to his bias againstDonald Trum p. Idon'
                                                                   tknow jfthat's true ornot?butI'm
         goingto have % inthe motion. Ifîtîstrue,Iwantto know ifShe FBIwenttothîsjudge jn
         particularforthewarrant.Theapplicationmightbespecificallyaddressedtothejudgeor
         maybetojustthe ''DistrjctCourt,Southem DistrictofFlorjda-''so,anotherreason why 1need
         to see the appljcation.

         Thatthe specialcounselM uellerhjred a!lDem ocrats (ornearsya1IDemocrats)Torhisteam
         investigating Trump. M uellerw as a form erhead ofthe FBI, Iwantto know ifalIofthe agents
         serving the warrantw ere Dem ocrats. Orifthey contributed to Dem ocrats- News reports I've
         hear
         OJ SdstatethatTrumpiswarnin:about1heplantingofevidencebytheajents. Irecallthe
              impsoncriminalcase getting torpedoed overthjsexad issue (,n addjtionto thatslove
         thatdidn'tfit,efa0. jneed the names ofthe agentsinorderto investigatethem.
         /////

         In the interestofjudicjaleconomy,Iaskthatyou incorporatea response tothese fouritems
         (1stAmendm entshigherstandard and the mree unique factsdiscussed above)ipyourcourt
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       sljng due Friday before 5 pm ,

       Ialso ask thatyou advise m e as to w hetheryou wjlljncorporate a response jn yourFrjday's
       sljng.

        Sorryforthe extrem e shorlnotice, ButIbelieve the cou;twillwantyourresponse sooner
        ratherthan Iater. IfIhad the finished m otion,lwould have provjded itto you.

       This em ailw illbe attached as an exhibjtto m y m olion forthe purpose ofcom plying w ith the
       Iocalrule.

       Thankyou.
       /s/PaulDorsey

        PaulDorsey
        110 W estminsterDrive
        W estHae ord,CT 06107
        (860)521-0081
        P./grseyk@ comcastp:l
